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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



DISPLAY TECHNOLOGIES, INC.,                         Case No. 2:17-CV-068-JRG-RSP

        Plaintiff,                                  LEAD CASE

        v.                                          JURY TRIAL DEMANDED

ZTE (USA) INC.,

        Defendant.



DISPLAY TECHNOLOGIES, INC.,                         Case No. 2:17-CV-067-JRG-RSP

        Plaintiff,

        v.                                          JURY TRIAL DEMANDED

BLU PRODUCTS, INC.,

        Defendant.




                               STIPULATION OF DISMISSAL
        Under Federal Rule of Civil Procedure 41(a), Plaintiff Display Technologies, LLC

(“Plaintiff”) and Defendant ZTE (USA) Inc. (“ZTE”), through their undersigned counsel,

stipulate to the dismissal of all claims in Plaintiff’s Complaint in this action with prejudice as to

ZTE only, and the dismissal without prejudice of all defenses and counterclaims asserted by ZTE

against Plaintiff. Each of Plaintiff and ZTE shall bear its own attorneys’ fees and costs.




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        A proposed order granting this Stipulation is submitted herewith.


Dated: October 9, 2017                       Respectfully submitted,

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Dated: October 9, 2017                     Respectfully submitted,

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                                           Counsel for Plaintiff

                               CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service
  are being notified of the filing of this document via the Court’s CM/ECF system per Local
  Rule CV- 5(a)(3) on this 9th day of October, 2017.

                                                    /s/ Scott R. Miller
                                                    Scott R. Miller




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